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                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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     DIANE KUBAT,                           Case No.: CV14-9091 AB (JCx)
11   INDIVIDUALLY AND ON
     BEHALF OF ALL OTHERS                   PLAINTIFF DIANE KUBAT’S
12   SIMILARLY SITUATED,                    REQUEST FOR VOLUNTARY
                                            DISMISSAL OF ACTION
13                                          WITHOUT PREJUDICE
                 Plaintiff,                 PURSUANT TO F.R.C.P. 41 (A)
14
                    v.                      HON. ANDRE BIROTTE JR.
15
     OLIVER ADJUSTMENT
16   COMPANY, INC.,
17
                              Defendant.
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     Case 2:14-cv-09091-AB-JC Document 11 Filed 04/07/15 Page 2 of 2 Page ID #:25


           Plaintiff DIANE KUBAT (“Plaintiff”) hereby moves to dismiss this action
 1
     without prejudice.
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           Plaintiff respectfully requests the action be dismissed WITHOUT
 3
     PREJUDICE. Each Party to bear its own attorneys’ fees and costs.
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     Date: April 2, 2015                             KAZEROUNI LAW GROUP, APC
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                                                  By: ___/s/ Matthew M. Loker___
 9                                                      MATTHEW M. LOKER, ESQ.
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                                             ATTORNEY FOR PLAINTIFF, DIANE KUBAT

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12
     Date: April 7, 2015
13                                               By: __________________________
14
                                                     HONORABLE ANDRÉ BIROTTE JR.
                                                     U.S. DISTRICT COURT JUDGE
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